                Case 6:24-cr-00015-JRH-BKE                  Document 20           Filed 09/12/24     Page 1 of 1
                                     UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF GEORGIA
                                                     CLERK=S MINUTES

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V

Stephanie Rangel Vazquez


Honorable: Brian K. Epps, United States Magistrate Judge           Courtroom Deputy: Courtnay Capps
Court Reporter: FTR                                                ,QWHUSUHWHU:
Probation Officer: Justin Brownlee                                 Security: USMS Scripture; CSO Blounts



Attorney for Government: Ryan Bondura
Attorney for Defendant(s): Troy Marsh


PROCEEDINGS: INITIAL APPEARANCE/ARRAIGNMENT

    ✔ 'HIHQGDQWDGYLVHGRIULJKWV
    ✔ &-$FRXQVHODSSRLQWHG
    ✔ 'HIHQGDQWDGYLVHGRIFKDUJHVDQGSHQDOWLHV
    ✔ 1RWJXLOW\SOHDHQWHUHG
    ✔ 3UHWULDOPRWLRQVGXHZLWKLQBBBBBBBB
                                  60 days                                                   ✔ Rule 5/Brady materials reviewed
    ✔ *RYHUQPHQW([SHUW'LVFORVXUHVGXHZLWKLQBBBBBBBBB
                                                  14 days

    ✔ 'HIHQVH([SHUW'LVFORVXUHVGXHZLWKLQBBBBBBBB
                                             60 days

       *RYHUQPHQWPRYHVIRUGHWHQWLRQ

                 'HIHQGDQWZDLYHVGHWHQWLRQKHDULQJDWWKLVWLPH
                 'HWHQWLRQKHDULQJVFKHGXOHGIRU
                 'HWHQWLRQKHDULQJKHOG

                      :LWQHVVIRU*RY W                                                                             :LWQHVV6ZRUQ

                       :LWQHVVIRU'HI                                                                              :LWQHVV6ZRUQ
         'HIHQGDQWGHWDLQHGSHQGLQJ trial
         'HIHQGDQWUHPDQGHGWRFXVWRG\RI8606

     ✔ 'HIHQGDQWJUDQWHGERQG$10,000 unsecured
    /PUFT
